                     Case 12-81845            Doc 27     Filed 05/19/15   Page 1 of 3



                      IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                  DURHAM DIVISION

 In re:
 Jacqueline S. Price                                      Case No. 12-81845
                                                          Chapter 13
 S.S. No.: xxx-xx-1024
 Mailing Address:
 14-P Weather Hill Circle, Durham, NC 27705
                                               Debtor.


                  MOTION TO ALLOW SUBSTITUTION OF COLLATERAL

NOW COMES the Debtor, by and through counsel undersigned, and moves, under authority of
11 U.S.C. § 105(a), 1303 and 363(b), to allow substitution of collateral in this case. In support
hereof, the Debtor shows the following:

1.   This case was filed on December 7, 2012 , with the Chapter 13 plan being subsequently
     confirmed on May 2, 2013.

2.   The Debtor's schedules of creditors includes JCS FINANCIAL SERVICES, LLC, which is
     secured by a lien on a 2007 JEEP COMMANDER.

3.   Said vehicle was totaled in an accident. The Debtor was not at fault, and the other driver’s
     insurance policy, USAA, will cover the damage to the said vehicle.

4.   The Debtor is in need of a replacement vehicle for transportation to work and for household
     maintenance. The Debtor has no other means to obtain a replacement vehicle except by
     using the insurance proceeds to be paid by USAA.

5.   The said insurance proceeds, in the amount of $7,020.89, are property of the estate. Said
     insurance was intended to provide for the replacement of said vehicle in the event of a total
     loss. The Debtor wishes to use the entire insurance proceeds to purchase a replacement
     vehicle, and is willing to turn the title to the replacement vehicle over to JCS FINANCIAL
     SERVICES, LLC to serve as replacement collateral on the obligation with said creditor.

6.   The Debtor also agree to pay over to the Chapter 13 Trustee any portion of the said
     insurance proceeds not used in the purchase of the replacement vehicle.

                       Appended Application for an Additional Attorney Fee

7.   Counsel for the Debtor further applies herein, in accordance with Bankruptcy Rule 2016(b),
     for approval the presumptive attorney fee in the amount of $450.00 to pay for the reasonable
     value of the services rendered, and to be rendered, with respect to this motion.
                  Case 12-81845       Doc 27     Filed 05/19/15    Page 2 of 3




WHEREFORE, the Debtor hereby requests that she be allowed to convey her interest in said
vehicle to the insurance company free of liens, and to use the entire proceeds of said insurance
payment to purchase a replacement vehicle and to substitute such replacement vehicle as
collateral with respect to the obligation owing to JCS FINANCIAL SERVICES, LLC; and to
facilitate the substitution of collateral, that JCS FINANCIAL SERVICES, LLC be ordered to
release the lien on the 2007 Jeep Commander in consideration for a lien on the replacement
vehicle; and that counsel for the Debtor be allowed additional attorney’s fees, to be paid through
the Debtor's Chapter 13 plan, in the amount of $450.00.

Dated: May 19, 2015

                                             LAW OFFICES OF JOHN T. ORCUTT, P.C.

                                               /s Koury Hicks
                                              Koury Hicks
                                             Attorney for the Debtor
                                             N.C. State Bar No. 36204
                                             1738-D Hillandale Road
                                             Durham, NC 27705
                                             Telephone: (919) 286-1695
                                             Fax: (919) 286-2704
                                             Email: khicks@johnorcutt.com
                     Case 12-81845            Doc 27     Filed 05/19/15   Page 3 of 3



                      IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                  DURHAM DIVISION

 In re:
 Jacqueline S. Price                                      Case No. 12-81845
                                                          Chapter 13
 S.S. No.: xxx-xx-1024
 Mailing Address:
 14-P Weather Hill Circle, Durham, NC 27705
                                               Debtor.

                                      CERTIFICATE OF SERVICE

I, Koury Hicks, of the Law Offices of John T. Orcutt, P.C., do hereby certify, under penalty of
perjury, that I am, and at all times hereinafter mentioned was, more than eighteen (18) years of age;
and that on May 19, 2015, I served copies of the foregoing               MOTION TO ALLOW
SUBSTITUTION OF COLLATERAL by automatic electronic noticing upon the following
parties:

Richard M. Hutson, II
Chapter 13 Trustee

William P. Miller
Bankruptcy Administrator

and by regular U.S. mail, upon the following parties:

Jacqueline S. Price                                         USAA
14-P Weather Hill Circle,                                   Attn: Kayla Cornejo
Durham, NC 27705                                            Claim No. 18888285LR11
                                                            PO Box 659474
JCS FINANCIAL SERVICES, LLC                                 San Antonio TX 78265 9044
Attn: Managing Agent
PO Box 2257
Wendell, NC 27591-




                                                       /s Erica NeSmith
                                                       Erica NeSmith
